              Case 2:16-cr-00109-RSL Document 52 Filed 09/16/20 Page 1 of 2




 1                                                             The Honorable Robert S. Lasnik
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 7                      UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON
 8
                                    AT SEATTLE
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       UNITED STATES OF AMERICA,                         NO. CR16-109 RSL
11
                            Plaintiff
12                                                       ORDER CONCERNING BRIEFING
                                                         SCHEDULE
13
                       v.
14
       ERIC BONGIORNI,
15
                            Defendant.
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17
            Having considered the parties’ Stipulated Motion Regarding Briefing Schedule
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     and for good cause shown, the motion is GRANTED.
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            IT IS ORDERED that the defendant’s pro se motion for a reduction in sentence
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     (Dkt 47) is stayed pending the filing of a supplemental brief in support of that motion by
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     counsel on defendant’s behalf;
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            IT IS FURTHER ORDERED that the government shall file a response to the
23
     defendant’s motion within seven days of the filing of that supplemental brief; and
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      ORDER CONCERNING BRIEFING SCHEDULE- 1 United States                  UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
      v. Bongiorni, CR16-109 RSL
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
              Case 2:16-cr-00109-RSL Document 52 Filed 09/16/20 Page 2 of 2




 1         IT IS FURTHER ORDERED that the government’s motion for an extension of its
 2 response deadline (Dkt 49) is denied as moot.
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 4         DATED this     16th day of September, 2020.
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 7                                           ROBERT S. LASNIK
                                             United States District Judge
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     Presented by:
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12
   s/ Matthew P. Hampton
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   MATTHEW P. HAMPTON
14 Assistant United States Attorney
15
   s/ Miriam Schwartz
16 MIRIAM SCHWARTZ
   Assistant Fe3deral Public Defender
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      ORDER CONCERNING BRIEFING SCHEDULE- 2 United States               UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
      v. Bongiorni, CR16-109 RSL
                                                                         SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
